                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS


ROBIN FORSLUND, TIMOTHY KELLY,                Case No. 1:22-cv-04260
GEORGE      LENZ   JR.,  MATTHEW
MENTING, DONALYN NORTH, ROBIN                 JUDGE JOHN J. THARP, JR
RECTOR, ERIC OTTENHEIMER, GAIL
ROSSI, and GREGORY WILLIAMS,                  MEMORANDUM OF LAW IN
                                              SUPPORT OF PLAINTIFFS’
     on behalf of themselves and all others   UNOPPOSED MOTION FOR
     similarly situated,                      PRELIMINARY APPROVAL OF
                                              CLASS ACTION SETTLEMENT
     Plaintiffs,

v.

R. R. DONNELLEY & SONS COMPANY,


     Defendant.
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       Plaintiffs Robin Forslund, Timothy Kelly, George Lenz Jr., Matthew Menting, Donalyn

North, Robin Rector, Eric Ottenheimer, Gail Rossi, and Gregory Williams (“Plaintiffs”),

individually and on behalf of all others similarly situated, by and through their counsel,

respectfully submit this memorandum of law in support of their Unopposed Motion for Preliminary

Approval of Class Action Settlement (“Motion”). The terms of the class action settlement (the

“Settlement”) are set forth in the Settlement Agreement dated July 26, 2023 (the “Settlement

Agreement” or “SA”).1

          I.   INTRODUCTION

       This settlement resolves a putative nationwide class action brought by Plaintiffs, on behalf

of themselves and a purported class of similarly situated individuals, alleging Defendant R.R.

Donnelley & Sons Company (“Defendant”) failed to adequately protect their personal and private

information in a Data Incident that took place on or around November 29, 2021. Throughout the

pendency of the litigation, Defendant has denied all allegations of wrongdoing and liability, and

asserted defenses to all claims.

       Recognizing the risks of protracted litigation, the Parties agreed to pursue informal

discovery and settlement negotiations. After Defendant produced informal discovery regarding the

putative class size and mechanism of the Data Incident, the Parties engaged in arms-length

negotiations over the course of three months. The extended negotiations resulted in the proposed

settlement that the Parties currently request the Court to preliminarily approve. The Settlement

Agreement is an excellent result for the putative class and includes a non-reversionary common

fund in the amount of $979,704.00 to be distributed to settlement class members.




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 Capitalized terms not otherwise defined herein have the meaning set forth in the Settlement
Agreement, attached hereto as Exhibit A.
                                                1
       Pursuant to the Parties’ agreement, Plaintiffs now respectfully request that this Court: (1)

preliminary approve the Settlement Agreement as fair, adequate, and reasonable, and within the

reasonable range of possible final approval; (2) appoint Plaintiffs Robin Forslund, Timothy Kelly,

George Lenz Jr., Matthew Menting, Donalyn North, Robin Rector, Eric Ottenheimer, Gail Rossi,

and Gregory Williams as Class Representatives; (3) appoint Plaintiffs’ Counsel Raina C. Borrelli

of Turke & Straus, LLP, Joseph M. Lyon of The Lyon Firm, LLC, and Gary M. Klinger of Milberg

Coleman Bryson Phillips Grossman, PLLC as Class Counsel; (4) provisionally certify the

Settlement Class (as defined below) under Federal Rule of Civil Procedure 23(b)(3) and (e) for

settlement purposes only; (5) approve the Parties’ proposed notice program, and confirm that it is

appropriate notice and that is satisfies due process and Rule 23; (6) set a date for a final approval

hearing; and (7) set deadlines for members of the Settlement Class to submit claims for

compensation, and to object to or exclude themselves from the settlement.

        II.    CASE SUMMARY

                   A. The Data Incident

       Defendant is an integrated multichannel marketing communications service company that

has been in business for 150 years. Consolidated Complaint, ECF No. 24, ¶ 26 (“Compl.”). As part

of its regular business, Defendant collects a wide range of personal identifying information (“PII”

or “Private Information”), including names and Social Security numbers. Id., ¶ 27. In collecting

and maintaining PII, Defendant acknowledges its duty to adopt reasonable measures to protect

Plaintiffs’ and Class Members’ PII. Id., ¶ 31. Specifically, its Privacy Policy states as follows:

       The security of your personal data is important to us. We follow generally accepted
       industry standards to protect the personal data submitted to us, both during
       transmission and once we receive it.

       RRD uses reasonable measures to safeguard personally identifiable data, which
       measures are appropriate to the type of data maintained and follows applicable laws

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        regarding safeguarding any such data under our control. In addition, in some areas
        of our Sites, RRD may use encryption technology to enhance data privacy and help
        prevent loss, misuse, or alteration of the data under RRD's control. RRD also
        employs industry-standard measures and processes for detecting and responding to
        inappropriate attempts to breach our systems.

Id., ¶ 32.

        On or about August 5, 2022, Defendant began sending notices to victims of the Data

Incident (“Notice of the Data Incident”) and, concurrently, notified various state Attorneys General

of the Data Incident. Id., ¶ 34. In an August 5, 2022 letter to the Washington Attorney General,

Defendant stated:

        On December 23, 2021, RRD identified a systems intrusion in its technical
        environment. The Company promptly implemented a series of containment
        measures to address this situation, including activating its incident response
        protocols, shutting down its servers and systems and commencing a forensic
        investigation. Based on observed tactics, RRD identified the Threat Actor as being
        affiliated with a foreign ransomware group. RRD also determined that the Threat
        Actor gained access through a phishing attack that targeted several employees on
        or about November 29, 2021. RRD notified and is working with appropriate law
        enforcement authorities. Following this incident, RRD has also enriched its
        monitoring and analysis capabilities to combat future cyber threats.

        RRD initially did not believe that the Threat Actor had removed any data from its
        environment. However, in mid-January 2022, RRD became aware that certain of
        its corporate data was accessed and exfiltrated by the Threat Actor. It evaluated the
        affected data with the assistance of a third-party data discovery provider and
        ultimately identified certain employee personal data among the documents
        exfiltrated. RRD also determined that the exfiltrated documents included certain
        data related to clients for whom RRD provides printing and mailing services. It has
        notified the affected clients accordingly. It expended significant effort to review
        each of the documents in order to identify potentially affected clients and
        individuals…. Affected documents included names, addresses, social security
        numbers, and, in some cases, dates of birth, and/or driver’s license numbers.

Id. Upon investigation, it was discovered that Conti, “a well-known ransomware group that has

attacked more than 400 organizations worldwide” had “claimed responsibility and began leaking

2.5 GB of data allegedly stolen from RRD.” See id., ¶¶ 1, 37. The Data Incident is believed to have

impacted 81,642 individuals. SA, § I.

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       After Defendant issued the Notice of the Data Incident, three separate putative class action

lawsuits were filed alleging Defendant failed to employ proper safeguards to prevent the

ransomware attack in the Northern District of Illinois: Forslund v. R.R. Donnelley & Sons Co.,

1:22-cv-04260; Kelly v. R.R. Donnelley & Sons Co., Case No. 1:22-cv-04301; and Menting v. R.R.

Donnelley & Sons Co., Case No. 1:22-cv-04838. On September 15, 2022, the three putative class

actions were consolidated into the first filed matter, and a Consolidated Amended Complaint was

filed on October 14, 2022. See Compl..

                   B. Procedural Background

       This case arises from the alleged compromise of PII as a result of a ransomware cyber-

attack Defendant experienced around November 29, 2021. Plaintiffs and Settlement Class

Members (as defined below) include current and former employees of Defendant, their

dependents, and other individuals affiliated with Defendant whose Private Information was

allegedly compromised in the Data Incident. In response to the Data Incident, Defendant sent a

Notice of Data Incident to 81,642 current and former employees providing a description of the

type of Private Information involved, which may have potentially included, for some individuals,

full names and Social Security numbers.

       Plaintiffs, collectively, alleged individually and on behalf of a putative nationwide Class

that, as a direct result of the Data Incident, Plaintiffs and Class Members suffered numerous

injuries and would likely suffer additional harm in the future. Plaintiffs’ claims for alleged

damages and remedies included the following categories of harms: “(i) invasion of privacy; (ii)

out-of-pocket expenses; (iii) loss-of time and productivity incurred mitigating the present risk and

imminent threat of identity theft; (iv) actual identity theft and fraud resulting in additional

economic and non-economic damages; (v) diminution of value of their PII; (vi) anxiety, stress,



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nuisance, and annoyance; (vii) increased targeted and fraudulent robocalls and phishing email

attempts; (viii) the present and continuing risk of identity theft posed by their personal data being

placed in the hands of the ill-intentioned hackers and/or criminals; (ix) the retention of the

reasonable value of the PII entrusted to Defendant; and (x) the present and continued risk to PII,

which remains on Defendant’s vulnerable network, placing Plaintiffs and Class Members at an

ongoing risk of harm.” Compl., ¶ 10.

       Plaintiffs, individually and on behalf of other members of the proposed nationwide Class,

collectively asserted claims for: (i) negligence, (ii) breach of implied contract, (iii) unjust

enrichment, (iv) invasion of privacy, (v) violations of the Illinois Consumer Fraud and Deceptive

Business Practices Act (“CFA”), (vi) violation of the New York Labor Law (on behalf of Plaintiff

Lenz and the proposed New York subclass), and (vii) declaratory judgment/injunctive relief. See

id. at ¶¶219-324.

       Defendant filed a Motion to Dismiss the Complaint, which is fully briefed. ECF Nos. 32,

33, 43, 45. Before the Court ruled on the Motion to Dismiss, the Parties reached this Settlement.

                    C. History of Negotiations

       The Parties exchanged extensive informal discovery into a number of areas, including, but

not limited to, the putative Class size and residence, number of individuals with SSNs impacted,

forensic investigation(s) into the Data Incident, and Defendant’s insurance coverage and/or ability

to pay. See Joint Declaration of Plaintiffs’ Counsel in Support of Plaintiffs’ Unopposed Motion

for Preliminary Approval of Class Action Settlement (“Counsel Decl.”) attached hereto as Exhibit

B ¶ 4. Based on this informal discovery exchange, the Parties were able to fully evaluate each

side’s respective positions on the merits and class certification. Id. With this knowledge, the Parties

spent approximately three months negotiating the material terms of a class settlement of Plaintiffs’



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claims, ultimately reaching agreement on the material terms on May 9, 2023. Id. The Parties then

worked to memorialize those terms in a full settlement agreement. Id. The negotiations were

professional and courteous, but each side zealously advocated for their clients’ position. Id.

       III.    SUMMARY OF THE SETTLEMENT

                   A. The Settlement Class

       The settlement negotiated on behalf of the Class provides for two separate forms of relief:

(1) monetary relief; and (2) equitable relief in the form of information security enhancements. SA,

§ 2. The Settlement provides for a nationwide Settlement Class as well as a California Settlement

Subclass.

       The Settlement Class

       All individuals who were sent notice of the Data Incident on or around August 5, 2022.

       The California Settlement Subclass

       All California residents to whom Defendant sent notice of the Data Incident on or around
       August 5, 2022.

Id. §§ 1.4, 1.8. The Settlement Class and California Settlement Subclass specifically exclude: i)

all Persons who timely and validly request exclusion from the Settlement Class; (ii) the Judge

assigned to evaluate the fairness of this Settlement; and (iii) any other Person found by a court of

competent jurisdiction to be guilty under criminal law of initiating, causing, aiding or abetting the

criminal activity occurrence of the Data Incident or who pleads nolo contendere to any such

charge. Id.

                   B. The Settlement Benefits

                       1. Monetary Relief

       The Settlement includes a non-reversionary common fund in the amount of $979,704.00

(the “Settlement Fund”) to be distributed to Settlement Class Members.         All Settlement Class

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Members shall have the opportunity to submit a Claim Form from the Settlement Fund for certain

Claimed Benefits either through the Settlement Website or by hand to a designated Post Office

box established by the Settlement Administrator. Any Valid Claims may be subject to pro-rata

increase or decrease depending on the aggregated amount of payments of Valid Claims. The

Claimed Benefits, as described below, shall include: (a) Reimbursement for Ordinary Out-of-

Pocket Losses and Attested Lost Time; (b) Reimbursement for Extraordinary Out-of-Pocket

Losses; (c) California Statutory Payments; and (d) Alternative Cash Payments. SA, § 2.

                           a. Reimbursement for Ordinary Losses & Attested Time

       All Settlement Class Members who submit a Valid Claim are eligible to receive

reimbursement for documented Ordinary Out-of-Pocket Losses and Attested Lost Time, if fairly

traceable to the Data Incident, up to $750 per individual (“Ordinary Out-of-Pocket Loss Cap”).

SA, § 2. “Ordinary Out-of-Pocket Losses” are unreimbursed costs or expenditures incurred by a

Settlement Class Member in responding to notice of the Data Incident. Ordinary Out-of-Pocket

Losses may include, without limitation, the following: (1) costs incurred on or after November

29, 2021 associated with accessing or freezing/unfreezing credit reports with any credit reporting

agency; (2) other miscellaneous expenses incurred related to any Ordinary Out-of-Pocket Loss

such as notary, fax, postage, copying, mileage, and long-distance telephone charges; (3) credit

monitoring or other mitigative costs that were incurred on or after November 29, 2021 through

the date of the Settlement Class Member’s Claim submission. Id, § 2(A). Class Members who

elect to submit a Claim for reimbursement of Ordinary Out-of-Pocket Losses must provide to the

Settlement Administrator the information required to evaluate the Claim, including: (1) the

Settlement Class Member’s name and current address; (2) documentation supporting their Claim;

(3) a brief description of the documentation describing the nature of the loss, if the nature of the



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loss is not apparent from the documentation alone; and (4) a verification, stating that the Claim

is true and correct, to the best of the Settlement Class Member’s knowledge and belief, and is

being made under penalty of perjury. Ordinary Out-of-Pocket Losses will be deemed “fairly

traceable” to the Data Incident if the timing of the loss occurred on or after November 29, 2021.

Id., § 2(A)(iii).

        Settlement Class Members may also submit a Claim for up to ten (10) hours of time spent

remedying issues related to the Data Incident at $25 per hour by providing an attestation and a

brief description of (1) the actions taken in response to the Data Incident; and (2) the time

associated with each action (“Attested Lost Time”). Claims for Attested Lost Time are capped

at $250.00, and fall under the $750 Ordinary Out-of-Pocket Loss Cap. Id., § 2(A)(iv).

                          b. Reimbursement for Extraordinary Out-of-Pocket Losses

        All Settlement Class Members who submit a Valid Claim are also eligible to receive

reimbursement for documented Extraordinary Out-of-Pocket Losses, if fairly traceable to the

Data Incident, not to exceed $5,000 per Settlement Class Member. Id., §2(B). “Extraordinary

Out-of-Pocket Losses” are unreimbursed costs or expenditures incurred by a Settlement Class

Member that are fairly traceable to the Data Incident. Id. Extraordinary Out-of-Pocket Losses

may include, without limitation, the unreimbursed costs, expenses, losses or charges incurred as

a result of identity theft or identity fraud, falsified tax returns, or other possible misuse of

Settlement Class Member’s Personal Information. Settlement Class Members may submit

multiple Claims, but the total of all amounts claimed may not exceed $5,000. Id.

                          c. California Statutory Payment

        Plaintiffs allege violations of California’s Consumer Privacy Act, which grants California

consumers a private right of action against the unauthorized access and exfiltration, theft, or



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disclosure of certain types of personal information, including the right to seek statutory damages.

Cal. Civ. Code § 1798.150(a). In recognition of their statutory rights under California’s Consumer

Privacy Act (“CCPA”), California Settlement Class Members may also make a Claim for a cash

payment of up to $350. SA, § 2(C). This payment is in addition to any reimbursement for Ordinary

and/or Extraordinary Out-of-Pocket Losses and Attested Lost Time. Id.

                          d. Alternative Cash Payment

        Moreover, Non-California Settlement Class Members may, in lieu of making a claim for

reimbursement of Ordinary and/or Extraordinary Out-of-Pocket Losses and Attested Lost Time,

elect to receive a cash payment in an amount equal to $200 on a claims-made basis. Id., § 3(D).

                      2. Equitable Relief

        For a period of four (4) years following the Effective Date, Defendant agrees to maintain

reasonable information security policies (“Business Practice Commitments”). The actual cost for

the implementation and maintenance of the Business Practice Commitments will be paid by

Defendant separate and apart from the Settlement Fund. Defendant has provided reasonable access

to confidential confirmatory discovery regarding the number of Settlement Class Members broken

down by category (e.g., current employee, former employee, etc.) and state of residence, the facts

and circumstances of the Data Incident and Defendant’s response thereto, and the changes and

improvements that have been made or are being made to protect Settlement Class Members’ PII.

Id., § 2.1.

                   C. Notice and Claims Process

                      1. Notice

        Subject to Court approval, the Parties have agreed to use Kroll Settlement Administration

as the Claims Administrator (referred to as the “Settlement Administrator” in the SA). Id., § 1.34.



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Settlement Administration Costs will be paid out of the Settlement Fund. Id., § 2.3. Within thirty

(30) days after entry of the Preliminary Approval Order (“Notice Commencement Date”) and to

be substantially completed not later than sixty (60) days after entry of the Preliminary Approval

Order, and subject to the requirements of the Settlement Agreement and the Preliminary Approval

Order, the Claims Administrator will provide notice to the Settlement Class via email to the email

addresses in Defendants’ possession. Id., § 3.3. Where the Short Notice is undeliverable via email

or where an email address is not available, the Short Notice will be sent via mail to the address in

Defendants’ possession. Id., § 3.2 (d). Prior to mailing, addresses will be run through the National

Change of Address database. Id. Short Notices returned with forwarding addresses will be

forwarded, and those returned with no forwarding addresses will be resent to any valid address

found after performing a skip trace. Id. The Claims Administrator will also cause the CAFA Notice

to be provided to the relevant state and federal governmental officials as required by the Class

Action Fairness Act within ten (10) days after the Settlement is filed with the Court and at least 90

days before the Final Approval Order is granted. Id. § 3.5.

       The Claims Administrator will also be responsible for creating a Settlement Website, and

shall maintain and update the website throughout the Claim period, with the forms of Short Notice,

Long Notice, and Claim Form approved by the Court, as well as the Settlement Agreement and

any other materials agreed upon or requested by the Court. Id., § 3.2(c). Settlement Class Members

will be able to submit Claim Forms through the Settlement Website. Id.

       The Claims Administrator will also create and maintain a toll-free help line with a live

operator to provide Settlement Class Members with additional information about the settlement.

The Claims Administrator also will provide copies of the Long Notice and paper Claim Form, as

well as the Settlement Agreement, upon request. Id., § 3.2(f).



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                       2. Claims, Objections, and Requests for Exclusion

       The timing of the claims process is structured to ensure that all Settlement Class Members

have adequate time to review the terms of the Settlement Agreement, compile documents

supporting their Claim, and decide whether they would like to opt-out or object. Id., §§4-5.

       Settlement Class Members will have 90 days from the Notice Commencement Date to

submit their Claim Form to the Claims Administrator, either by mail or online. Id., § 1.7. The

Claims Administrator has authority to assess the validity of Claims, and upon receipt of an

incomplete or unsigned Claim Form, is required to request additional information and/or

documentation and give the Settlement Class Member 30-days to cure the defect before rejecting

the Claim. Id., § 2.2. Claims will be paid within 30 days after the Effective Date. Id., § 9.2.

       Any Settlement Class Member who wishes to opt out of the settlement will have until 60

days after the Notice Commencement Date to provide written notice that they would like to be

excluded from the Settlement Class. Id., §1.23. Each Person wishing to opt out of the Settlement

Class shall individually sign and timely submit written notice of such intent to the designated Post

Office box established by the Claims Administrator. Id.

       Similarly, Settlement Class Members who wish to object to the terms of the Settlement

Agreement must do so in writing and send their objection to the Claims Administrator on or before

60 days from the Notice Commencement Date. Id., § 1.22. The written objection must include: (i)

the objector’s full name and address; (ii) the case name and docket number; (iii) information

identifying the objector as a Settlement Class Member, including proof that the objector is a

member of the Settlement Class (e.g., copy of the objector’s settlement notice, copy of original

notice of the Data Incident, or a statement explaining why the objector believes he or she is a

Settlement Class Member); (iv) a written statement of all grounds for the objection, accompanied



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by any legal support for the objection the objector believes applicable; (v) the identity of any and

all counsel representing the objector in connection with the objection; (vi) a statement whether the

objector and/or his or her counsel will appear at the Final Fairness Hearing; and (vii) the objector’s

signature or the signature of the objector’s duly authorized attorney or other duly authorized

representative (if any) representing him or her in connection with the objection. Id., § 5.1. To be

timely, written notice of an objection in the appropriate form must be mailed, with a postmark date

no later than the Objection Date, to Proposed Settlement Class Counsel and counsel for

Defendants. Id. The objector or his or her counsel may also file objections with the Court through

the Court’s ECF system, with service on Proposed Settlement Class Counsel and Defendants’

counsel made through the ECF system. Id.

                   D. Attorneys’ Fees, Costs, and Service Awards

       The Parties did not discuss the payment of attorneys’ fees, costs, expenses and/or service

awards to Plaintiffs until after the substantive terms of the settlement had been agreed upon, other

than that reasonable attorneys’ fees, costs, expenses, and a service award to Plaintiffs as may be

agreed to by Defendants and Proposed Settlement Class Counsel and as ordered by the Court, or,

in the event of no agreement, as ordered by the Court, from the Settlement Fund. Id., § 7.1.

Defendants have agreed not to challenge a petition for an award of attorneys’ fees at or below

33.33% of the Settlement Fund, or approximately $326,568.00, and litigation expenses of

$10,000.00 or less. Id., § 7.2. The Settlement Agreement also provides for a reasonable service

award to each Plaintiff in the amount of $3,000. Id., § 7.3. The service award is meant to

compensate Plaintiffs for their efforts, which include maintaining contact with counsel, assisting

in the investigation of the case, reviewing pleadings, remaining available for consultation

throughout the settlement negotiations, answering counsel’s many questions, and reviewing the



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Settlement Agreement. Counsel Decl., ¶ 14. Plaintiffs will seek the Court’s approval of the

requested attorneys’ fees, costs and service awards prior to the Final Fairness Hearing by way of

a separate motion. Id., ¶ 75.

        IV.    ARGUMENT

       “Federal Rule of Civil Procedure 23(e) requires Court approval of any settlement that

effects the dismissal of a class action.” Reynolds v. Beneficial Nat’l Bank, 288 F.3d 277, 279 (7th

Cir. 2002). When parties seek preliminary approval of a class action settlement agreement under

Rule 23(e), the District Court must: (1) determine whether it will likely be able to certify the

putative class for purposes of judgment on the proposed settlement; (2) determine whether the

proposed settlement is within the range of possible approval with regard to the criteria set forth in

Rule 23(e); and (3) approve the proposed notice plan and direct Plaintiffs to provide notice “in a

reasonable manner to all class members who would be bound” by the proposed settlement

agreement. In re TikTok, Inc. Consumer Privacy Litig., MDL No. 3948, 2021 WL 4478403, at *5

(N.D. Ill. Sept. 30, 2021).

       Here, the proposed Settlement Class and California Settlement Subclass meet the standards

for certification; the proposed settlement is an outstanding result for Settlement Class Members

and well within the range of possible approval; and the notice program proposed by the Parties

meets all requirements of due process and Rule 23. Thus, this Court should grant preliminary

approval.

                   A. The Settlement Class and California Subclass Should be Certified for
                      Settlement Purposes.

       At the preliminary approval stage, the Court must determine that it “will likely be able” to

certify the putative class or classes for purposes of judgment on the proposed settlement. Fed. R.




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Civ. P. 23(e)(1)(B)(ii); see also Am. Int’l Grp., Inc. v. ACE INA Holdings, Inc., Nos. 07 C 2898,

09 C 2026, 2011 WL 3290302, at *3 (N.D. Ill. July 26, 2011).

       Rule 23(a) sets out four specific prerequisites to class certification: (1) the class must be so

numerous that joinder of all members is impracticable; (2) there must be questions of law and fact

common to the class; (3) the claims or defenses of the class representatives must be typical of the

claims or defenses of the class; and (4) the representative parties must fairly and adequately protect

the interests of the class. Further, under Rule 23(b)(3), the Court must find that common questions

of law or fact predominate over any questions affecting only individual members, and that a class

action is superior to other available methods for the fair and efficient adjudication of the

controversy.

       Because a court evaluating certification of a class action that has settled is considering

certification only in the context of settlement, the court’s evaluation is somewhat different than in

a case that has not yet settled. See Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997). In

some ways, the court’s review of certification of a settlement-only class is lessened; as no trial is

anticipated in a settlement-only class case, the case management issues inherent in the

ascertainable class determination need not be confronted. See id. Other certification issues

however, such as “those designed to protect absentees by blocking unwarranted or overbroad class

definitions” require heightened scrutiny in the settlement-only class context “for a court asked to

certify a settlement class will lack the opportunity, present when a case is litigated, to adjust the

class, informed by the proceedings as they unfold.” Id.

       Class actions are regularly certified for settlement. In fact, similar data breach cases have

been certified—on a national basis—including the record-breaking settlement in In re Equifax. See

In re Equifax, Inc. Customer Data Sec. Breach Litig., No. 1:17-md-2800-TWT (N.D. Ga. July 25,



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2019). See also, e.g., In re Target, 309 F.R.D. 482 (D. Minn. 2015); In re Heartland Payment Sys.,

Inc. Customer Data Sec. Breach Litig., 851 F. Supp. 2d 1040 (S.D. Tex. 2012). Both the Settlement

Class and the California Settlement Subclass should be similarly certified. See Herrera v. Wells

Fargo Bank, N.A., No. SACV 18-332JVS, 2021 WL 3932257, at *12 (C.D. Cal. Jun. 8, 2021)

(granting preliminary approval of settlement and finding equitable treatment of class members

even where statutory subclass members would receive greater relief than non-statutory subclass

members).

       Here, the Settlement Class and California Subclass meet the requirements of Rule 23 and

warrant certification.

                         1. The Settlement Class Members and California Settlement Subclass
                            Members are so numerous that joinder is impracticable.

       Rule 23(a) requires that a class be “so numerous that joinder of all members is

impracticable.” Fed. R. Civ. P. 23(a)(1). “A class of forty generally satisfies the numerosity

requirement.” See Savanna Group, Inc. v. Trynex, Inc., 2013 WL 66181, *4 (N.D. Ill. 2013). Here,

there are approximately 81,000 class members. Joinder, therefore, is clearly impracticable, and the

class thus easily satisfies Rule 23’s numerosity requirement.

                         2. Questions of Law and Fact are Common to the Members of the
                            Settlement Class and Settlement Subclass.

       Commonality is satisfied where common questions are capable of generating “common

answers apt to drive the resolutions of the litigation.” Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct.

2541, 2551 (2011). “[F]or purposes of Rule 23(a)(2) even a single common question will do.” Id.

at 2556.

       Here, commonality is satisfied because the circumstances of each particular Settlement

Class Member retain a common core of factual or legal issues with the rest of the Settlement Class,



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regardless of whether the individual is a member of the Settlement Class or both the Settlement

Class and the California Settlement Subclass. Plaintiffs’ claims center on whether Defendant failed

to adequately safeguard the records of Plaintiffs and other Settlement Class Members. For

example, issues common to all Settlement Class and Settlement Subclass Members include:

              Whether Defendant owed and breached a duty to exercise due care in collecting,

               storing, and/or safeguarding Plaintiffs’ and Settlement Class Members’ PII;

              Whether Defendant knew or should have known that it allegedly did not employ

               reasonable measures to keep the PII of Plaintiffs’ and Settlement Class Members’

               secure; and

              Whether Defendant violated the law by allegedly failing to promptly notify

               Plaintiffs and Settlement Class Members that their PII had been potentially

               compromised.

       These common questions, and others alleged by Plaintiffs in their Complaint, are central

to the causes of action brought here and can be addressed on a class-wide basis because they all

tie back to the same common nucleus of operative facts—the Data Incident and Defendants’ data

protection measures. See Parker v. Risk Mgmt. Alternatives, Inc., 206 F.R.D. 211, 213 (N.D. Ill.

2002) (“[A] common nucleus of operative fact is usually enough to satisfy the [commonality]

requirement”). Thus, Plaintiffs have met the commonality requirement of Rule 23.

                      3. Plaintiffs’ Claims are Typical of the Claims of the Members of the
                         Settlement Class They Represent.

       “Rule 23(a) further requires that ‘the claims or defenses of the representative parties are

typical of the claims or defenses of the class.’” Spates v. Roadrunner Transportation Sys., Inc.,

2016 WL 7426134, at *2 (N.D. Ill. 2016). “A claim is typical if it arises from the same event or

practice or course of conduct that gives rise to the claims of other class members and…[the] claims

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are based on the same legal theory.” Id. (quoting Oshana v. Coca-Cola Co., 472 F.3d 506, 513

(7th Cir. 2006)). Put another way, where the defendant engages “in a standardized course of

conduct vis-a-vis the class members, and plaintiffs’ alleged injury arises out of that conduct,”

typicality is “generally met.” Hinman v. M and M Rental Center, 545 F. Supp. 2d 802, 806-07

(N.D. Ill. 2008) (citing, e.g., Keele v. Wexler, 149 F.3d 589, 594 (7th Cir. 1998)).

       Here, the claims of Plaintiffs and all Settlement Class Members arise out of the same course

of conduct—that Defendant collected and allegedly failed to adequately protect the Settlement

Class Members’ PII—and assert the same theories of liability. As a result, the typicality

requirement is satisfied.

                       4. The Adequacy Requirement is Satisfied.

       The test for evaluating adequacy of representation under Rule 23(a)(4) has two

components: (1) “the representatives must not possess interests which are antagonistic to the

interests of the class,” and (2) “the representatives’ counsel must be qualified, experienced and

generally able to conduct the proposed litigation.” In re TikTok, Inc., Consumer Privacy Litigation,

2021 WL 4478403, at *7 (quoting CV Reit, Inc. v. Levy, 144 F.R.D. 690, 698 (S.D. Fla. 1992));

Retired Chi. Police Ass'n v. City of Chi., 7 F.3d 584, 598 (7th Cir. 1993). Here, the Settlement

Class Representatives and Settlement Class Counsel meet the test of adequacy.

       First, there is no conflict between Plaintiffs and the Settlement Class Members. Plaintiffs

were allegedly harmed in the same way as all Settlement Class Members when Defendants

allegedly failed to adequately secure their PII. Plaintiffs and all Settlement Class and California

Subclass Members seek relief for injuries arising out of the same Data Incident. In light of this

common event and injury, the named Plaintiffs have every incentive to vigorously pursue the

putative Class claims and no conflict exists.



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       Further, Settlement Class Counsel are qualified to represent the Settlement Class. They

have extensive experience in data privacy and consumer class actions. See Counsel Decl., ¶¶ 16-

20. The results obtained by this settlement confirm Settlement Class Counsel’s adequacy. Thus,

the requirements of Rule 23(a) are satisfied.

                       5. Rule 23(b) is Satisfied

       Rule 23(b)(3) allows for certification only where (1) “questions of law or fact common to

class members predominate over any questions affecting only individual members,” and (2) “a

class action is superior to other available methods for fairly and efficiently adjudicating the

controversy.”

                           a. Common Questions of Fact and Law Predominate

       “Predominance is satisfied if resolution of some of the legal or factual questions that

qualify each class member’s case as a genuine controversy can be achieved through generalized

proof, and if these particular issues are more substantial than the issues subject only to

individualized proof.” Roach v. T.L. Cannon Corp., 778 F.3d 401, 405 (2d Cir. 2015) (quoting

Catholic Healthcare W. v. U.S. Foodservice Inc., 729 F.3d 108, 118 (2d Cir.2013)) (internal

quotation marks omitted). This requirement “tests whether the proposed classes are sufficiently

cohesive to warrant adjudication by representation.” Amchem, 521 U.S. at 623. Further, when a

settlement class is proposed, the manageability criteria of Rule 23(b)(3) do not apply. Id. at 620.

       In this case, the key predominating questions are whether Defendant had a duty to exercise

reasonable care in safeguarding, securing, and protecting the PII of Plaintiffs and the Settlement

Class, and whether Defendant breached that duty. The common questions that arise from

Defendant’s conduct predominate over any individualized issues. Other courts have recognized

that the types of common issues arising from data breaches predominate over any individualized



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issues. See, e.g., In re Anthem, Inc. Data Breach Litig., 327 F.R.D. 299, 312-15 (N.D. Cal. 2018)

(finding predominance was satisfied because “Plaintiffs’ case for liability depend[ed], first and

foremost, on whether [the defendant] used reasonable data security to protect Plaintiffs’ personal

information,” such that “the claims rise or fall on whether [the defendant] properly secured the

stolen personal information,” and that these issues predominated over potential individual issues);

see also Hapka v. CareCentrix, Inc., No. 2:16-cv-02372-KGG, 2018 WL 1871449, at *2 (D. Kan.

Feb. 15, 2018) (finding predominance was satisfied in a data breach case because “[t]he many

common questions of fact and law that arise from the E-mail Security Incident and [Defendant’s]

alleged conduct predominate over any individualized issues”); In re The Home Depot, Inc.,

Customer Data Sec. Breach Litig., No. 1:14-md-02583-TWT, 2016 WL 6902351, at *2 (N.D. Ga.

Aug. 23, 2016) (finding common predominating questions included whether Home Depot failed

to reasonably protect class members’ personal and financial information, whether it had a legal

duty to do so, and whether it failed to timely notify class members of the data breach); In re

Heartland, 851 F. Supp. 2d at 1059 (finding predominance satisfied in data breach case despite

variations in state laws at issue, concluding such variations went only to trial management, which

was inapplicable for settlement class). Thus, this case meets the requirement of predominance.

                           b. A Class Action is the Superior Method for Resolving These Claims

       Additionally, because the claims are being certified for purposes of settlement, there are

no issues with manageability, and resolution of thousands of claims in one action is far superior to

individual lawsuits. Amchem, 521 U.S. at 620 (“Confronted with a request for settlement-only

certification, a district court need not inquire whether the case, if tried, would present intractable

management problems . . . for the proposal is that there be no trial.”).




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        The resolution of tens of thousands of claims in one action is far superior to litigation via

individual lawsuits. Class certification—and class resolution—guarantees an increase in judicial

efficiency and conservation of resources over the alternative of individually litigating millions of

individual data breach cases arising out of the same Data Incident.

        The common questions of fact and law that arise from Defendant’s conduct predominate

over any individualized issues, a class action is the superior vehicle by which to resolve these

issues, and the requirements of Rule 23(b)(3) are met. Accordingly, the Settlement Class should

be certified for settlement purposes.

                   B. The Settlement Should be Approved as Fair, Reasonable, and
                      Adequate.

        As the Seventh Circuit has recognized, federal courts strongly favor and encourage

settlements, particularly in class actions and other complex matters, where the inherent costs,

delays, and risks of continued litigation might otherwise overwhelm any potential benefit the class

could hope to obtain:

        It is axiomatic that federal courts look with great favor upon the voluntary
        resolution of litigation through settlement. In the class action context in particular,
        there is an overriding public interest in favor of settlement. Settlement of complex
        disputes often involved in class action minimizes the litigation expenses of both
        parties and also reduces the strain such litigation imposes on already scarce judicial
        resources.

Armstrong v. Bd. of Sch. Dirs. of the City of Milwaukee, 616 F.2d 305, 312-13 (7th Cir. 1980)

(citations and quotations omitted), overruled on other grounds by Felzen v. Andreas, 134 F.3d 873

(7th Cir. 1998); see also Isby v. Bayh, 75 F.3d 1191, 1196 (7th Cir. 1996) (“Federal courts naturally

favor the settlement of class action litigation”); 4 Newberg on Class Actions § 11.41 (4th ed. 2002)

(citing cases).




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       Under Rule 23(e) of the Federal Rules of Civil Procedure, a class-action settlement may be

approved if the settlement is “fair, reasonable, and adequate.” In re AT&T Mobility Wireless Data

Servs. Sales Litig., 270 F.R.D. 330, 345 (N.D. Ill. 2010). “Approval of a class action settlement is

a two-step process.” In re Northfield Labs., Inc. Sec. Litig., No. 06 C 1493, 2012 WL 366852, at

*5 (N.D. Ill. Jan. 31, 2012) (citing In re AT&T, 270 F.R.D. at 346). “First, the court holds a

preliminary, pre-notification hearing to consider whether the proposed settlement falls within a

range that could be approved.” Id. “If the court preliminarily approves the settlement, the class

members are notified.” Id.

       Rule 23 – and particularly the portions thereof dealing with settlement – was amended in

December 2018. The first step in the amended process is a preliminary fairness determination: the

new Rule calls for front-loaded scrutiny of a proposed settlement so that any issues are identified

before notice goes out to the class. The new Rule 23(e) states that grounds exist for class notice

where the parties show that “the court will likely be able to (i) approve the proposal under Rule

23(e)(2); and (ii) certify the class for purposes of judgment on the proposal.” Fed. R. Civ. P.

23(e)(1)(B). To that end, where, as here, the proposed settlement would bind class members, it

may only be approved after a final hearing and a finding that it is fair, reasonable, and adequate,

based on the following factors:

           A. The class representative and class counsel have adequately represented the class;

           B. The proposal was negotiated at arm’s length;

           C. The relief provided for the class is adequate, taking into account: (i) the costs, risks,
              and delay of trial and appeal; (ii) the effectiveness of any proposed method of
              distributing relief to the class, including the method of processing class-member
              claims; (iii) the terms of any proposed award of attorney’s fees, including timing of
              payment; and (iv) any agreement required to be identified under Rule 23(e)(3); and

           D. The proposal treats Class Members equitably relative to each other.



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Fed. R. Civ. P. 23(e)(2). If the court preliminarily finds that the settlement is fair, adequate, and

reasonable, it then “direct[s] the preparation of notice of the certification, proposed settlement, and

date of the final fairness hearing.” Fed. R. Civ. P. 23(e)(1)(B).

       The second step in the process, occurring only after notice has issued to the class, is a final

fairness hearing. Fed. R. Civ. P. 23(e)(2); see also Manual For Complex Litigation, § 21.633-34;

In re Northfield Labs., 2012 WL 366852, at *5 (“Second, the court holds a fairness hearing and

considers, among other things, any objections filed by class members.”). As explained below,

consideration of the relevant factors supports preliminarily approving the Settlement Agreement

and issuing notice.

                       1. The Settlement Class Representatives and Settlement Class Counsel
                          Have Adequately Represented the Settlement Class.

       By their very nature, because of the many uncertainties of outcome, difficulties of proof,

and lengthy duration, class actions readily lend themselves to compromise. Indeed, there is an

“overriding public interest in favor of settlement,” particularly in class actions that have the well-

deserved reputation as being most complex. In re Sears, Roebuck & Co. Front-loading Washer

Prod. Liab. Litig., No. 06 C 7023, 2016 WL 772785, at *6 (N.D. Ill. Feb. 29, 2016); see also

Armstrong, 616 F.2d at 313. This matter is no exception.

       Here, the Parties entered into the settlement only after both sides were fully apprised of the

facts, risks, and obstacles involved with protracted litigation. See Counsel Decl., ¶¶2-7. At the

outset of their investigation, Settlement Class Counsel conducted extensive research regarding

Plaintiffs’ claims, Defendant, and the Data Incident. Id., ¶ 3. Class Counsel then requested, and

Defendant produced, informal discovery necessary to engage in informed discussions about class

resolution. Id. The parties then spent nearly three months negotiating the material terms of a class

settlement, and then an additional two months finalizing the full settlement agreement. Id., ¶ 5.

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Prior to engaging in settlement discussions, the Parties briefed Defendant’s Motion to Dismiss.

ECF Nos. 32, 33, 43, 45. As such, and considering Settlement Class Counsel’s extensive

experience in data breach litigation (see, e.g., Counsel Decl., ¶¶ 16-20), the Parties were able to

enter into settlement negotiations with a full understanding of the strengths and weaknesses of the

case, as well as the potential value of the claims. See In re Capital One TCPA Litig., 80 F. Supp.

3d 781, 793 (N.D. Ill. 2015) (granting preliminary approval to privacy class settlement where the

parties exchanged discovery over a six-month period and then mediated the case to reach a

settlement).

        In addition, the adequacy of representation requirement is satisfied because Plaintiffs’

interests are coextensive with, and not antagonistic to, the interests of the Settlement Class. See

G.M. Sign, Inc. v. Finish Thompson, Inc., No. 07 C 5953, 2009 U.S. Dist. LEXIS 73869, at *15-

*16 (N.D. Ill. Aug. 20, 2009). Here, as discussed supra, the Plaintiffs’ claims are aligned with the

claims of the other Settlement Class Members. They thus have every incentive to vigorously

pursue the claims of the Settlement Class, as they have done to date by remaining actively involved

in this matter since its inception, participating in the investigation of the case, reviewing pleadings,

remaining available for consultation throughout settlement negotiations, and reviewing the

Settlement Agreement. Counsel Decl., ¶ 14. Further, Plaintiffs retained qualified and competent

counsel with extensive experience in litigating consumer class actions, and privacy actions in

particular. See, e.g., Karpilovsky v. All Web Leads, Inc., No. 17 C 1307, 2018 WL 3108884, at *8

(N.D. Ill. June 25, 2018).

        In a case where experienced counsel represent the class, the Court “is entitled to rely upon

the judgment of the parties’ experienced counsel.” In re Capital One TCPA Litig., 80 F. Supp. 3d

at 792; Armstrong, 616 F.2d at 315 (“Judges should not substitute their own judgment as to optimal



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settlement terms for the judgment of the litigants and their counsel.”). Here, Plaintiffs’ counsel

believe that the Parties’ settlement is fair, reasonable, and adequate, and in the best interests of the

members of the Settlement Class. Counsel Decl., ¶ 9. Plaintiffs’ Counsel also believes that the

benefits of the Parties’ settlement far outweigh the delay and considerable risk of proceeding to

trial. Id. ¶ 10.

                    2. The Settlement Was Negotiated at Arm’s-Length by Vigorous
                       Advocates, and There Has been no Fraud or Collusion.

        Here, the Settlement Agreement resulted from good-faith, arms’-length settlement

negotiations over many months, resulting in the Settlement Agreement before the Court Counsel

Decl., ¶ 7. Accordingly, it is clear that that the Parties negotiated the Settlement Agreement at

arm’s length and absent any fraud or collusion. This factor thus weighs in favor of preliminary

approval.

                    3. The Settlement Provides Substantial Relief for the Settlement Class.

        The Settlement Agreement provides for substantial relief, especially considering the costs,

risks, and delay of trial, the effectiveness of distributing relief, and the proposed attorneys’ fees.

“The most important factor relevant to the fairness of a class action settlement is the first one listed:

the strength of the plaintiffs’ case on the merits balanced against the amount offered in the

settlement.” Synfuel Techs, Inc. v. DHL Express (USA), Inc., 463 F.3d 646, 653 (7th Cir. 2006)

(internal quotes and citations omitted). Nevertheless, “[b]ecause the essence of settlement is

compromise, courts should not reject a settlement solely because it does not provide a complete

victory to plaintiffs.” In re AT&T, 270 F.R.D. at 347. “In most situations, unless the settlement is

clearly inadequate, its acceptance and approval are preferable to lengthy and expensive litigation

with uncertain results.” Newberg on Class Actions, § 11:50. This is, in part, because “the law

should favor the settlement of controversies, and should not discourage settlement by subjecting a

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person who has compromised a claim to the hazard of having the settlement proved in a subsequent

trial . . . ” Grady v. de Ville Motor Hotel, Inc., 415 F.2d 449, 451 (10th Cir. 1969). It is also, in

part, because “[s]ettlement is the offspring of compromise; the question we address is not whether

the final product could be prettier, smarter or snazzier, but whether it is fair, adequate and free

from collusion.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1027 (9th Cir. 1998); see also Gehrich

v. Chase Bank USA, N.A., 316 F.R.D. 215, 228 (N.D. Ill. 2016) (“The essential point here is that

the court should not “reject[ ]” a settlement “solely because it does not provide a complete victory

to plaintiffs,” for “the essence of settlement is compromise.”).

                           a. The Costs, Risks, and Delay of Trial and Appeal Favor Approval of
                              the Settlement.

       The value achieved through the Settlement Agreement here is guaranteed, where chances

of prevailing on the merits are uncertain. While Plaintiffs strongly believe in the merits of their

case, they also understand that Defendants will assert a number of potentially case-dispositive

defenses. In fact, should litigation continue, Plaintiffs would likely have to immediately survive

Defendant’s fully briefed motion to dismiss in order to proceed with litigation. Due at least in part

to their cutting-edge nature and the rapidly evolving law, data breach cases like this one generally

face substantial hurdles—even just to make it past the pleading stage. See Hammond v. The Bank

of N.Y. Mellon Corp., 2010 WL 2643307, at *1 (S.D.N.Y. June 25, 2010) (collecting data breach

cases dismissed at the Rule 12(b)(6) or Rule 56 stage). Class certification is another hurdle that

would have to be met—and one that has been denied in other data breach cases. See, e.g., In re

Hannaford Bros. Co. Customer Data Sec. Breach Litig., 293 F.R.D. 21 (D. Me. 2013). Moreover,

due to the quickly evolving nature of case law pertaining to data protection, it is likely that a win

by any party will result in appeals, which will further increase costs and extend the time until

Plaintiffs and Settlement Class Members can have a chance at relief.

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        Plaintiffs dispute the defenses Defendants are likely to assert, but it is obvious that their

likelihood of success at trial is far from certain. “In light of the potential difficulties at class

certification and on the merits…, the time and extent of protracted litigation, and the potential of

recovering nothing, the relief provided to class members in the Settlement Agreement represents

a reasonable compromise.” Wright v. Nationstar Mortg., LLC, 2016 WL 4505169, at *10 (N.D.

Ill. 2016).

                            b. The Method of Providing Relief is Effective

        “[T]he effectiveness of any proposed method of distributing relief to the class, including

the method of processing class-member claims,” is also a relevant factor in determining the

adequacy of relief. Fed. R. Civ. P. 23(e)(2)(C)(ii). The Committee Note to the 2018 amendments

to Rule 23(e)(2) says that this factor is intended to encourage courts to evaluate a proposed claims

process “to ensure that it facilitates filing legitimate claims. A claims processing method should

deter or defeat unjustified claims, but the court should be alert to whether the claims process is

unduly demanding.”

                            c. The Proposed Award of Attorneys’ Fees is Fair and Reasonable.

        “[T]he terms of any proposed award of attorneys’ fees, including timing of payment,” are

also factors in considering whether the relief is adequate. Fed. R. Civ. P. 23(c)(2)(C)(iii). Plaintiffs’

counsel will seek an award of attorneys’ fees of at or below 33.33% of the Settlement Fund, or

approximately $326,568.00, and litigation expenses of $10,000 or less. 2 This percentage fee

requested falls well within the range of other approved class settlements, including privacy class

settlements. See, e.g., Kolinek v. Walgreen Co., 311 F.R.D. at 501 (N.D. Ill. 2015) (awarding 36%



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  Plaintiffs will file a complete petition for fees, costs, and service awards by separate filing prior
to the deadline for Settlement Class Members to object to or exclude themselves from the
Settlement Agreement.
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of net settlement fund in class settlement); Martin v. JTH Tax, Inc. No. 13-cv-6923, ECF No. 85

(N.D. Ill. Sept. 16, 2015) (awarding fees of 38% of net settlement fund in class settlement);

Kusinski v. Macneil Auto. Prod. Ltd., No. 17-CV-3618, 2018 WL 3814303, at *1 (N.D. Ill. Aug.

9, 2018) (“The Court authorizes 1/3 of the Gross Settlement Fund”) Birchmeier v. Caribbean

Cruise Line, Inc., 896 F.3d 792, 795 (7th Cir. 2018) (affirming post-Pearson fee award in TCPA

class action that included, inter alia, “the sum of 36% of the first $10 million”); In re Capital One

TCPA Litig., 80 F. Supp. 3d 781 (same); Taubenfeld v. Aon Corp., 415 F.3d 597, 600 (7th Cir.

2005) (noting table of 13 cases in the Northern District of Illinois submitted by class counsel

showing fees awarded ranged from 30% to 39% of the settlement fund); Karpilovksy v. All Web

Leads, Inc., 17-cv-01307, ECF No. 173 (N.D. Ill. Aug. 8, 2019) (approving fees of 35% of the

settlement fund). Plaintiffs’ counsel achieved an excellent result for the Settlement Class after

undertaking substantial risk in bringing this action on a pure contingency basis, and they should

be fairly compensated.

       Prior to final approval, Plaintiffs’ counsel will file a separate motion for award of attorneys’

fees and costs, addressing in detail the facts and law supporting their fee request, and the

anticipated fee request will likewise be stated in the Settlement Class Notice. At this stage of the

settlement, the requested fees and costs are clearly within the range of possible approval and

support preliminary approval of the Settlement Agreement.

                           d. There are no Additional Agreements Required to be Identified under
                              Rule 23(e)(3).

       As no additional agreements requiring identification exist, this factor does not weigh either

in favor of or against preliminary approval.

                       4. The Settlement Agreement Treats Settlement Class Members
                          Equitably with Each Other.



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       Here, the proposed Settlement Agreement does not improperly discriminate between any

segments of the Settlement Class. All Settlement Class Members will be eligible to make a Claim

for reimbursement for ordinary and extraordinary loss. See SA, §2(A)-(B). Likewise, all

Settlement Class Members will be eligible to make a Claim for cash payment. See id., §§ 2(C) and

3(D). Settlement Class Counsel further state that the enlarged cash payment to the California

Settlement Subclass is warranted because California Settlement Subclass Members have additional

and valuable California state claims.

       Importantly, direct notice will be sent to Settlement Class Members, and all Settlement

Class Members will also have the opportunity to object to or exclude themselves from the

settlement. And while Plaintiffs will be seeking a $3,000 service award for their services on behalf

of the Settlement Class, this award is significantly less than the amount that any given Settlement

Class Member can claim in reimbursements and thus does not create any improper motivation to

settle or give rise to undue inequities across the Settlement Class.

       Accordingly, this factor also weighs in favor preliminary approval.

                   C. The Parties’ Notice Plan Satisfies the Requirements of Rule 23 and Due
                      Process Requirements.

       Rule 23(e)(1) requires the Court to “direct reasonable notice to all class members who

would be bound by” a proposed settlement. For classes, like this one, certified under Rule 23(b)(3),

parties must provide “the best notice that is practicable under the circumstances, including

individual notice to all members who can be identified through reasonable effort.” Fed. R. Civ. P.

23(c)(2)(B). The best practicable notice is that which “is reasonably calculated, under all of the

circumstances, to apprise interested parties of the pendency of the action and afford them an

opportunity to present their objections.” Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S.

306, 314 (1950). The notice provisions of Rule 23 were amended because means of

                                                 28
communication have evolved, and permitting notice by electronic means, including e-mails, digital

media, and social media, may provide the best practicable notice under the circumstances. Duke

L. Bolch Jud. Inst., Guidelines and Best Practices Implementing 2018 Amendments to Rule 23

Class Action Settlement Provisions, app. C at 17-18.23 (Aug. 2018). Specifically, the amended

language expressly provides that notice can be made by one or a combination of means, including

“United States mail, electronic means, or other appropriate means.” Fed. R. Civ. P. 23(c)(2)(B).

       The Committee Note to Rule 23 advises: “Counsel should consider which method or

methods of giving notice will be most effective; simply assuming that the ‘traditional’ methods

are best may disregard contemporary communication realities.” Duke L. Bolch Jud. Inst.,

Guidelines and Best Practices Implementing 2018 Amendments to Rule 23 Class Action Settlement

Provisions, app. C at 19 (Aug. 2018). Consistent with that directive, counsel for the Parties and

the Claims Administrator have carefully considered cost, customer preference, and effectiveness

in determining the best practicable means of communicating the settlement benefits and rights of

exclusion (among other matters) to the Settlement Class.

       Here, notice will be provided directly to individual Settlement Class Members via the

contact information they provided to Defendants when interacting with them. S.A., § 3.2(a), (d).

Specifically, the Claims Administrator will first send Notice to the Settlement Class via email to

the email addresses in Defendants’ possession. Id. Where the Short Notice is undeliverable via

email or where an email address is not available, the Short Notice will be sent via U.S. Mail to the

address in Defendants’ possession. Id. Prior to mailing, addresses will be run through the National

Change of Address database and updated. Id. Short Notices returned with forwarding addresses

will be forwarded, and those returned with no forwarding address will be resent to any valid

address found after performing a skip trace. Id. The Claims Administrator will also create and



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maintain a Settlement Website where Settlement Class Members can view relevant documents,

submit their Claim Forms, or get answers to frequently asked questions. Id., § 3.2(c). In addition

to the direct Notice and Settlement Website, the Claims Administrator will also maintain a

dedicated toll-free, live operator help line, to provide Settlement Class Members with additional

information they may need. Id., § 3.2(f).

        Under Rule 23, the notice must include, in a manner that is understandable to potential

class members: “(i) the nature of the action; (ii) the definition of the class certified; (iii) the class

claims, issues, or defenses; (iv) that a class member may enter an appearance through an attorney

if the member so desires; (v) that the court will exclude from the class any member who requests

exclusion; (vi) the time and manner for requesting exclusion; and (vii) the binding effect of a class

judgment on members under Rule 23(c)(3).” Fed. R. Civ. P. 23(c)(2)(B). This information is

included both the Long Notice and Short Notice in language that is easy to understand. See SA,

Exs. B, D.

        Because the class notice and notice plan set forth in the Settlement Agreement satisfy the

requirements of due process and Federal Rule of Civil Procedure 23 and provide the best notice

practicable under the circumstances, the Court should direct the Parties and the Claims

Administrator to proceed with providing notice to Settlement Class Members pursuant to the terms

of the Settlement Agreement and its order granting preliminary approval.

         V.     CONCLUSION

        Plaintiffs respectfully request that this Court (1) conditionally approve the Parties’

Settlement Agreement as fair, adequate, reasonable, and within the reasonable range of possible

final approval, (2) appoint Plaintiffs as the Class Representatives, (3) appoint Plaintiffs’ counsel

as Class Counsel, (4) provisionally certify the Settlement Class under Federal Rule of Civil



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Procedure 23(b)(3) and (e) for settlement purposes only, (5) approve the Parties’ proposed notice

program, and confirm that it is appropriate notice and that it satisfies due process and Rule 23, (6)

set deadlines for Settlement Class Members to submit claims for compensation, objections and

requests for exclusion, and (7) set a date for a final approval hearing.

Dated: July 28, 2023                           Respectfully submitted,


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